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     Attorneys for Plaintiff
   6 CARMEN JOHN PERRI
   7
                           UNITED STATES DISTRICT COURT
   8
   9                      CENTRAL DISTRICT OF CALIFORNIA

 10
 11                                             Case No.: 2:21-cv-03226-FLA-MAA

 12     CARMEN JOHN PERRI, an                   Hon. Fernando L Aenlle−Rocha
       individual,
 13
                                                NOTICE OF SETTLEMENT AND
 14         Plaintiff,                          REQUEST TO VACATE ALL
 15                                             CURRENTLY SET DATES
       v.
 16                                             Complaint Filed: April 14, 2021
       GOLDEN AGE
 17                                             Trial Date: None Set
       INVESTMENTS, LLC., a
 18    California limited liability
       company; and DOES 1-10,
 19
       inclusive,
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            Defendants.
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                                      NOTICE OF SETTLEMENT
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   1        The Plaintiff hereby notifies the Court that a global settlement has been
   2 reached in the above-captioned case and the Parties would like to avoid any
   3 additional expense, and to further the interests of judicial economy.
   4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
   5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
   6 parties, will be filed within 45 days.
   7
   8
   9 Dated: July 26, 2021                           MANNING LAW, APC
 10
 11                                           By:   /s/ Joseph R. Manning, Jr. Esq.
                                                    Joseph R. Manning, Jr., Esq.
 12                                                 Attorneys for Plaintiff
 13                                                 Carmen John Perri

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                                     NOTICE OF SETTLEMENT
